Case 1:14-cv-00207-LO-MSN Document 72 Filed 10/30/17 Page 1 of 7 PageID# 306

                                                                       FEGEiVED
                                                                      :.-^!LROCM
                 UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA


 Alexander Otis Matthews                                          7
 plaintiff                                                  .
 V.                                        Case No. l:14-cv-207

 Estrategia Investimentos, S.A., et al
            Plaintiff's ResponsTe'. ^07 Def endant' rC^'ntEQtn
 Beratungs und Beteiligungen AG*s;(Centrum B&B) Motion to Dismiss
      Alexander Otis Matthews, pro se, respectfully files his^
  response pursuant to Local Civil Rule 7(K) to the defendant s
 motion to dismiss, as follows:

 1» In its motion to dismiss the defendant Centrum Beratungs und
 Beteiligungen AG ( Centrum B&B) contends that the Court does not
 have jurisdiction over it in this matter, and that under Rule
 12(b)(6) the plaintiff has failed to state a claim upon which
 relief can be granted. The plaintiff shall address each of the
 defendant's argument in turn.
 2. Ih?support of its argument that the Court lacks personal
 jurisdiction over it in this matter, the defendant cites the
 requirements needed to establish both general and specific
 jurisdiction. That is, the defendant holds that the Court lacks
 specific personal jurisdiction because the defendant Centrum
 B&B lacks any contacts with Virginia that relate in any way to
 the subject matter of the lawsuit. The defendant Centrum B&B also
 holds that the Court has no general personal jurisdiction over
 it because such broad exercise of jurisdiction is proper only
 when the foreign defendant can said to be at home.
 3.   Defendant Centrum B&B has omitted addressing another means
 of establishing personal juridiction over non-resident
 defendants which our nation's district courts and the United
 States Supreme Court have long recognized, and that is pursuant
 to the stream of commerce legal theorem. Under the stream of
 commerce theorem, the Supreme Court of the United States has
 granted courts specific jurisdiction where a "nonresident
 defendant, acting outside the forum state, places in the stream
 of commerce a product that ultimately causes harm inside the
 forum." see Goodyear Dunlop Tires Operations, S.A., v. Brown,
 564 U.S. 915,919(2010). Under the stream of commerce theorem
 and its use to establish specific jurisdiction, jurisdiction
 against a defendant is predicated upon or related to the defendant's
 specific contacts with the forum state, and instances in which
 these single or occasional acts occurred or had their impact
 in the forum state against the plaintiff, thus invoking the
 benefits and protections of the laws of the forum state, see
 Hansen v. Denckla, 357 U.S. 235, 253 (1958).
                                     -1-
Case 1:14-cv-00207-LO-MSN Document 72 Filed 10/30/17 Page 2 of 7 PageID# 307



  4. The actions of Centrum B&B in the case at bar constitute a
  classic case where jurisdiction should vest in a district court
  under the stream of commerce theorem. That is so because just
  like a manufacturer that is a nonresident that places a product
  in the stream of commerce which ultimately causes harm in the
  forum state, Centrum B&B, despite being a nonresident of the
  forum state of Virginia, ultimately caused harm to the plaintiff
  in the forum state from actions related to its banking services
  involving an international S.W.I.F.T. message transmission.see
  generally Dayton, Personal Jurisdiction and the Stream of Commerce
  doctrine, 7 rev. Litigation 239, 262-268 (1988)(discussing
  origins and evolution of the stream of commerce doctrine). In
  the case at bar, recognizing the stream of commerce doctrine,
  the actions and omissions of Centrum B&B clearly fall under
  this legal theorem, where as a nonresident defendant it did
  ultimately cause great harm to the plaintiff inside the forum
  state. Its service or product, being its untimely forwarding
  of the S.W.I.F.T. message, "travelled through an extensive chain
  of distribution before reaching the ultimate consumer," in this
  case the plaintiff. This is precisely the reason that the state,
  of Virginia, and other states, have enacted long-arm statutes,
  which authorize courts to exercise specific jurisdiction over
  such nonresident defendants, when that defendant's products or
  services were used or consumed within the forum state in the
  ordinary course of trade.

  5. To properly consider this matter the interconnected and
  vast network of global trade and commerce must be looked at. In
  the case at bar Centrum      B&B agreed to be a party to an
  international S.W.I.F.T. wire that listed both the plaintiff
  American Investments Real Estate Corporation (AIREC) and
  Centrum as parties to the MT-199 message. The MT-199 message
  expressly listed both parties, and since Centrum B&B in its
  motion has conceded its knowledge of AIREC as a corporation in
  food standing in the forum state during the transaction^it had
   nowledge it was transacting with a company in the forum state.
  In the S.W.I.F.T stream of commerce transaction Centrum played
  a central role in the matter as a relay or middleman bank that
  was selected due to its prior banking relationship with the two
  other banks conducting the transaction. To meet the threshold
  required to vest jurisdiction in a district court under the
  stream of commerce theorem an alien defendant must: 1) place
  its product or service into the stream of commerce, 2) they
  must know or should     have known the likely destination of the
  product or service, and 3) its conduct and connections with the
  forum state are such that it may reosonably foresee being hailed
  into court within that forum, see Deb USA, Inc. v. CWGC LA Inc.,
  US Dist LEXIS 20027 (4th Cir 2017).It is very reasonably argued
  here that Centrum B&B placed its services into the stream of commerce
  by agreeing to be the relay bank for the plaintiff under the
  MT-199 agreement which referenced both Centrum B&B and the
  plaintiff expressly. Because Centrum B&B had advance notice of
  the entity that it would be sending the S.W.I.F.T message for,
  in this case a company based in^the forum state and an
  authorized legal entity in the forum state. Centrum B&B both

                                      -2-
Case 1:14-cv-00207-LO-MSN Document 72 Filed 10/30/17 Page 3 of 7 PageID# 308



   knew or reasonably should have known that it services would be
   utilized in the forum state where AIREC was based out of.Finally,
   based on the rhenetary size of the transaction and on the very
   critical role that S.W.I.F.T transmissions play daily in most
   international business transactions, it is not unreasonable to
   assume that Centrum would foresee itself hauled into court in
   the Forum state should it not perform its duties under the MT-199
   contract arid more generally under the rules of banks that are
   members of the S.W.I.F.T network.

   6. In many ways the Court's jurisdiction over Centrum B&B in
   the case at bar is analagous to this Court's jurisdiction over
   other nonresident defendants in other cases presently before the
   Court, such as United States v. Dotcom, et al,U.S. Dist LEXIS
   148114 (4th Cir 2012). In Dotcom, this Court Established
   jurisdiction over the defendants based only upon the fact that
   the defendants had sent some of their communications to
   copyright holders on computer servers located in the Eastern
   District of Virginia. While the standards for criminal and civil
   liability and jurisdiction admittedly are distinct, certainly the
   Dotcom defendants cannot be said to be at home in the forum state
   of Virginia or that its affiliations are so "continuous and
   systematic"?.as"to render it essentially at home in the forum
   state. Yet this Court found thisr.?minimal contact sufficient to
   establish jurisdiction under the indictment, with the much more
   serious criminal penalties and sanctions involved, and this type
   of jurisdiction has been estblished by federal courts against
   many nonresident international companies        and individuals. The
   United States has also found jurisdiction against many nonresident
   foreign banks who have never transacted in the United States, but
   have only been alleged to have assisted American persons in
   subverting the tax laws of the United States and thus faced
   criminal penalties based on the jurisdiction established.
   7. In the case at bar, Centrum B&B's contact with the forum
   state through a company based in the forum state was clear,
   _   its role in the stream of commerce was fundamental and
  central, and its harm to the plaintiff in the forum state was
  profound.

  8. Looking at the issue from the additional angle of the VA
  long arm statute and the Due Process Clause of the Fourteenth
  Amendment, the district courts have decided that a plaintiff
  need only make a prima facie showing that the nonresident
  defendant be subject to suit under both the long-arm statiUte of
  its forum state and the Due Process Clause. That is, because
  the district courts have interpreted the VA long-arm statute
  to reach as far as the U.S. Constitution allows, the statiiitory
  and due process components of the personal jurisdiction
  analysis merge, see ALS Scan, Inc., v. Digital Serv. Consultants,
  ^nc_^, 293 F.3d 707, /lO (4th Cir 2002). We have already shown
  that personal jurisdiction in the case at bar cannot be found
  under the general or specific jurisdiction theorem strictly, but
  rather must be analyzed under the stream of commerce specific
  jurisdiction theorem . Under that theorem Centrum B&B acted to
                                      -3-
Case 1:14-cv-00207-LO-MSN Document 72 Filed 10/30/17 Page 4 of 7 PageID# 309



  provide its services to a company which was an authorized
  entity based in the forum state, and it is certainly not
   therefore offensive to     "traditional notions of fair play
  and justice" that Centrum       B&B should, as a major world^
  bank aware of its duties under S.W.I.F.T and a transaction
   of this dollar amount, find itself liable for its failures
   to perform its duties in good faith. Because holding Centrum
  B&B to the jurisdiction of this EDVA/Alexandria Court is not
   "offensive to traditional notions of fair play and justice"
   , it is not offensive to the Fourteenth Amendment and its Due
  Process protections (because the Fourteenth Amendment applies
  only to the States, in the case at bar it would be the 5th
  Amendment's protections by way of the Fourteenth Amendment as
   a matter of law).

  9. Centrum B&B is not an innocent bystander in the case at
  bar. As a major world bank with solid standing it knew the
  stakes involved in a S.W.I.F.T. message involving an $88 million
  dollar guarantee for an Investment Grade, A rated financial
  instrument. Centrum B&B reasonably knew the importance of
  its role in timely forwarding the message and its banking
  guarantee, and the importance of not acting to delay such a
  message under the S.W.I.F.T. system. It must be reasonably argued
   that they would have .^expected to be legally challenged in the
   forum state and home of AIREC for their clear and heretofore
   unexplained role in failing to send that message for almost
   one month after they received it. Unlike the defendant in
   De Simone v. VSL Pharms., Inc., where that court couldn't
   establish jurisdiction because Vivomixx did'nt make the sale
   in question from its own website, in the case at bar CentKiam
   B&B both directly received the message to its own S.W.I.F.T.
   terminal in its bank, and also directly sent the message out
   in an untimely manner. This is the case because for security
   purposes, all S.W.I.F.T. members (banks) can only send and
   receive S.W.I.F.T. messages      ^n their own S.W.I.F.T
   terminals located within their banks. Thus Centrum B&B made a
   specific and direct effort in a?^stream of commerce event by
   transacting with and on behalf of a company based in the forum
   state, which     further connects Centrum B&B to the forum
   state because the primary beneficiary of the stream of
   commerce event is AIREC, a company which Centrum B&B itself
   acknowledges . to be a Virginia company at time of the event.
   Centrum B&B, by its very act of agreeing to be the relay or
   middleman (bank for the transaction, made a specific and
   direct effort to deliver its services within the forum state
   to a company based in that forum state.

   10. Because the MT-199 agreement or message was contained
   within the body of the Escrow Agreement which set the terms
   of the efltiee S.W.I.F.T. transaction, and because AIREC was
   not only a benefactor of that contract but the prime
   beneficiary itself, under Virginia's 3rd Party Beneficiary
   Statute AIREC is able to pursue its legal remedies under
   that contract despite AIREC not being a direct signatory .
   Because both Centrum B&B are expressly mentioned and cited

                                    -4-
Case 1:14-cv-00207-LO-MSN Document 72 Filed 10/30/17 Page 5 of 7 PageID# 310


   as principal members of the S.W.I.F.T. message, AIREC has
   an additional legal basis upon which to hold Centrum B&B
    liable for its failures to carry out its duties under the
    transaction. Contrary to Centrum B&B*s assertion that for
    the Court to exercise personal jurisdiction over Centtum
    B«ScB would haul it into court "solely as a result of random,
    fortuitous, or attenuated events'* is far from the case in^
    the matter at bar...the plaintiff has fully demonstrated in
    this pleading the degree and manner in which the defendant
    Centrum B&B knew who it was interacting on behalf of, which
    forum state it was transacting with, the stakes for its
    actions in bad faith or violating the rules of S.W.I.F.T as
    a S.W.I.F.T member, and the very organized ( as opposed to
    random) nature of the transaction itself and its central role
   as the relay bank. Centrum B&B is no innocent lamb in this
   matt'^e]^ttn international banking protocols, or in the
   S.W.I.F.T protocols...they are a seasoned and savvy world
    class bank with full awareness of its role when it participates
    in such international banking processes.

    11. The second part of Centrum B&B's motionrargues that the
    plaintiff has failed to state a claim upon which relief can
    be granted. First of all the district courts have held that
    banks cannot be held liable for simple negligence claims in
    regards to S.W.I.F.T. transactions. Also, the statute of
    limitations for negligence claims in the state of Virginia
    is two years, thus the negligence claims asserted against
    Centrum B&B are time barred, see Rossmann v. Lazarus, 2009
    US Dist LEXIS 1741( 4th Cir 2009).
    12. As to the breach of contract claim. Centrum B&B is listed
    expressly with AIREC in the MT-199, which the entire Escrow
    Agreement jja governing contract for the transaction) is
    premised upon. That Centrum B&B agreed to be party to that
    contract is belied by its actions in sending the S.W.I.F.T.
    message, as is the fact that it was a party to the contract -
    if it was not a party to the contract with AIREC vilisted
    as the primary beneficiary of that contract then why did
    Centrum B&B act to fulfill its duties under the contract,
    albeit in an untimely manner ? Centrum B&B was a principal
    with AIREC in the     MT^199 and thus the Escrow Agreement itself,
    and based on its voluntary actions to comply with its duties
    under the contract i t cannot now claim not to have been a
    party to it, such a stance is in defiance of logic and reason.
    Centrum   B&B is liable to AIREC under the breach of contract
    claim, its actions belying its assertions to the contrary.
    Similarly, Centrum is also liable to AIREC under the breach
    of the implied covenant of good faith and fair dealing claim.
    Becaase Centrum B&B's actions show an attempt (but failure)
    to perform timely under its contractual agreements as a
    bank acting under its S.W.I.F.T. duties, its actions in the
    case at bar constitute a clear breach of this Virginia
    statute, making Centrum B&B liable to AIREC under this claim.


                                     -5-
Case 1:14-cv-00207-LO-MSN Document 72 Filed 10/30/17 Page 6 of 7 PageID# 311



   Additionally, because the Escrow Agreement was the contract
   governing the transaction, because both AIREC and Centrum B&B
   were expressly listed as principals in the MT-199 Agreement
   at the centi^r of the Escrow Agreement, and because of the 3rd
   Party Contract beneficiary rights available to AIREC as the
   primary beneficiary of the contract, Centrum B&B is precluded
   from arguing that its actions do not constitute a breach of
   that contract. Thus, both the breach of contract claim and
   the related breach of the implied covenant of good faith and
   fair dealing are valid claims in relation to            the set of
   facts before the Court. That is, the Escrow Agreement and the
   MT 199 represent a contract between all the listed parties
   which governed the transaction. Centrum B&B breached the
   contract when it delayed the transmission beyond the date
   specified in the Escrow Agreement, and AIREC was injured and
   suffered damages in having the contract cancelled by the seller
   of the financial instrument based on delay's caused by Centrum
   B&B.

   13. Finally, Centrum B&B reserved the right to challenge at a
   later date the plaintiff's standing to represent the interests
   of AIREC in the case at bar. The plaintiff addresses this by
   stating that in multiple cases in courts in the Commonwealth
   of Virginia, Virginia courts have allowed the plaintiff to^
   represent the interests of AIREC and other cancelled entities
   where the property and affairs were vested in the plaintiff as
   a matter of law under the Code of VA. In fact, VA law expressly
   allows the trustee in liquidation to litigate on behalf of the
   dissolved entities, and nowhere expressly says that the trustee
   in liquidation must have an attorney to represent him. In Case
   CL-16-02 in the Arlington County Circuit Court, the plaintiff
   was allowed to litigate on behalf of a cancelled corporate
   entity through the case to default judgment, and in Fairfax
   Sounty Circuit Case CL_2013-11270 the plaintiff was allowed to
   represent the interests of a cancelled corporate entity for the
   past 4 years. Of course in these other cases and in the case
   at bar the plaintiff will either retain counsel or request
   court appointed counsel if a trial is necessary. But the fact
   remains that VA law expressly allows a trustee in liquidation
   to represent a dissolved entity for the purposes of wrapping
   up the corporation's affairs, and nowhere expressly says
   otherwise.

   14. For the reasons argued herein the plaintiff respectfully
   asks the court to deny Centrum B&B's motion to dismiss.
          WHEREFORE the plaintiff prays for the Court to deny the
   defendant Centrum B&B's motion to dismiss.



                           Date:           |( 7
                                                  Alexander Otis Matthews
                                                  24394-016.   LSCI Allenwood
                                                  §8O.BOX 1000
                                                    lite Deer, PA 17887
                                     -6-
Case 1:14-cv-00207-LO-MSN Document 72 Filed 10/30/17 Page 7 of 7 PageID# 312



                        Certificate of Service

  Alexander Otis Matthews hereby certifies that a true copy
  of this document was sent via first class mail, postage
  prepaid, to the following persons and entities:

  1. Charles B. Molster, III- at 2141 Wisconsin Avenue., N.W.,
  Suite M, Washington DC 20007

  2. Bruce H. Haglund- at 20 Foxboro, Irvine, CA 92614
  3. Wilson, Haglund, & Paulsen- at 20 Foxboro, Irvine, CA 92614




                       Date
                                             Alexander Otis Matthews
                                             24394-016
                                             LSCI Allenwood
                                             PO BOX 1000
                                             White Deer, PA 17887




                                   -7-
